Case 1:25-cv-23182-RAR Document 5-3 Entered on FLSD Docket 07/17/2025 Page 1 of 3




                          DECLARATION OF AMANDA VELAZQUEZ

  I, Amanda Velazquez, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that
  the following is true and correct.

     1. I make this declaration based on my own personal knowledge and if called to testify I
        could and would do so competently and truthfully to these matters.

     2. I am a sole practitioner and I run Florida Keys Immigration, an immigration law firm
        based in Key West and Miami, Florida. Through Florida Keys Immigration, I represent
        clients in a wide range of immigration law matters, including affirmative applications for
        immigration relief and removal defense in proceedings before immigration courts.

     3. I am an attorney in good standing in the state of Iowa. I specialize in the practice of
        immigration law. I have practiced immigration law for the past 25 years.

     4. I represent three clients who are currently detained at Alligator Alcatraz. I also represent
        one client (HE) who was detained at Alligator Alcatraz, but who has been transferred to a
        different facility, as his family informed me on July 15, 2025. (I do not know where HE is
        now being held and he does not appear on ICE’s online detainee locator.) None of these
        clients have any criminal convictions.

            a. EP: EP is a client who I have represented since 2020. He has a valid work permit
               and driver’s license. He has an immigration case that is pending before the Board
               of Immigration Appeals (BIA).

                EP works for a pool cleaning company, and his family informed me that he was
                detained by immigration authorities on July 3, 2025, when he was en route to
                work. Despite my efforts to contact him, I have not been able to speak with EP
                since he was detained.

            b. CM: I have represented CM since November of 2023. CM has a valid work
               permit. He has an affirmative asylum application pending before the United States
               Citizenship and Immigration Services (USCIS); at the time he was detained, he
               was not in removal proceedings.

                On Sunday, July 6, 2025, CM was detained by immigration officials while en
                route to his job working for a landscaping company. He was taken directly to
                Alligator Alcatraz after he was detained. He called me the day he arrived at
                Alligator Alcatraz on a monitored line.

            c. HE: HE is no longer at Alligator Alcatraz, but I do not know where he is. HE is
               the nephew of CM. He works with CM for a landscaping company. He was
Case 1:25-cv-23182-RAR Document 5-3 Entered on FLSD Docket 07/17/2025 Page 2 of 3




                detained along with CM on July 6, 2025, and was taken directly to Alligator
                Alcatraz. He called me from Alligator Alcatraz and retained me to represent him
                on July 6, 2025.

                On July 15, 2025, I was informed by HE’s family that HE had called them to let
                them know he was transferred to a different facility. Although by this time, I had a
                Form G-28 on-file with ICE, no one from the agency has informed me of this
                transfer.

            d. JR: I was retained by JR to represent him on Monday July 7, when he called me
               from Alligator Alcatraz. I believe that JR has an upcoming Credible Fear
               Interview before USCIS scheduled for July 28. However, despite my repeated
               efforts (described below), I have been unable to learn more about the details of
               this process, so that I can prepare for it and represent JR.

     5. As a result of the barriers to access to counsel at Alligator Alcatraz, Florida Keys
        Immigration has been unable to provide legal services to the above clients. Due to these
        many barriers to access to counsel, our firm has spent approximately 6-8 hours of staff
        time and significant costs that it would otherwise not have incurred. This includes time
        spent attempting to obtain information about how to establish communication with clients
        at the facility, time spent attempting to file documents with the immigration court and
        ICE, and time spent attempting to request access to clients. The attorney access
        restrictions at the facility harm my firm’s ability to sign on new clients and maintain
        client relationships.

     6. Since Thursday, July 3, when I learned of EP’s detention at Alligator Alcatraz, I have
        sought to locate each of my detained clients on ICE’s online detainee locator at
        www.ice.gov/locator. I have run searches on this locator every day, starting on the date
        that I learned of each client’s detention at Alligator Alcatraz. I run searches for every
        client I know to be detained at Alligator Alcatraz.

     7. Once when I ran a search, one of my four clients appeared on the locator with a location
        that included the word “Everglades” and a contact number for the Krome North
        Processing Center. However, a day later he no longer appeared on the ICE online
        detainee locator. None of my other clients have appeared at all on the ICE online detainee
        locator.


     8. Because the Krome phone number was listed for one of my clients at Alligator Alcatraz,
        on the morning of July 11, I tried calling Krome to find out how I could contact these
        clients. I spoke with a Krome staff member who told me that Krome has received tons of
Case 1:25-cv-23182-RAR Document 5-3 Entered on FLSD Docket 07/17/2025 Page 3 of 3




         calls about Alligator Alcatraz, but that—despite what the ICE website stated—Krome is
         not the correct number to make requests and seek information for clients at Alligator
         Alcatraz. He recommended that I email the Krome Deportation Officer assigned to my
         clients’ country of origin.

     9. Immediately after this call, I emailed this Krome Deportation Officer, Jordan Gullage.
        She responded and advised me to email legal@privacy6.com to request attorney calls
        with my client.

     10. I immediately emailed legal@privacy6.com, but I received a bounce-back undeliverable
         email.


     11. I am extremely concerned about EP, CM, HE, and JR. I know that conditions at the
         facility are very bad, based the single call that I received from CM, HE, and JR. CM and
         HE both told me that the facility was overrun with mosquitos and that it was filling up
         quickly. And JR sounded terrified when I spoke with him.


     12. Not being able to schedule attorney calls or in-person meetings with my clients is
         preventing me from being able to prepare their immigration cases or seek release for
         them.

     13. My client CM has confirmed to me via phone that he wishes to be a plaintiff in this
         lawsuit to ensure confidential, private attorney communication. CM wishes to proceed
         under pseudonym in this case due to his current asylum proceedings. He fears persecution
         if returned to his home country and believes that public disclosure of his identity could
         expose him to further danger of political persecution and torture based on his history of
         political activism in his home country.




  Executed on 16 of July, 2025, at Miami, Florida.


  /s/______________
  Amanda Velazquez
